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                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION AT LEXINGTON
                               CASE NO. 5:22-cv-231-DCR

   EUGENE BAKER, et al.                          )
                                                 )
                 Plaintiffs,                     )
                                                 )
  v.                                             )
                                                 )
   BLACKHAWK MINING, LLC, and                    )
   PINE BRANCH MINING, LLC                       )
                                                 )
                 Defendants.                     )


                          NOTICE OF CONVENTIONAL FILING
                                        **********
         Defendants Blackhawk Mining, LLC (“Blackhawk”) and Pine Branch Mining, LLC (“Pine

  Branch”), by and through counsel hereby give Notice that a CD containing Exhibit 7 to

  Defendants’ Consolidated Response and Cross-Motion for Full Summary Judgment, referenced at

  docket entries 141-7 and 142-7, was filed with Court conventionally via hand-delivery on March

  12, 2024.



                                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
          This is to certify that I electronically served and filed the foregoing with the Clerk of the
  Court using the CM/ECF system on this 13th day of March, 2024, which will give notice to all
  parties of record.


                                                        /s/ Kristeena L. Johnson
                                                        Counsel for Defendants




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